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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


CENTER FOR BIOLOGICAL DIVERSITY;
DEFENDERS OF WILDLIFE; ANIMAL LEGAL
DEFENSE FUND,

                               Plaintiffs,
                                                             No. 1:19-cv-00408 (TNM)
       v.

LLOYD J. AUSTIN III, in his official capacity as
Secretary of Defense, et al,

                               Defendants.



                                   JOINT STATUS REPORT

       In accordance with the Court’s Order of October 4, 2021, Plaintiffs and Defendants

submit the following joint status report.

       The parties remain in active settlement discussions and request that the Court continue

the stay of this case for 60 days. The parties are currently in the process of discussing a

proposed settlement framework centered around potential environmental mitigation activities at

the former Department of Defense border wall construction sites. The parties exchanged

proposed frameworks in September and November, and intend to continue their discussions

with the goal of developing a proposed settlement agreement.

       The parties agree that the interests of party and judicial economy would be furthered by

allowing the parties to continue these ongoing discussions with the goal of reaching a mutually-

agreeable resolution to this case without the need for further litigation. The Court has broad

discretionary power to stay proceedings in order “to control the disposition of the causes on its

docket with economy of time and effort for itself, for counsel, and for the litigants.” Landis v.

North Am. Co., 299 U.S. 248, 254-55 (1936). Further, a stay would serve the “just, speedy, and

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inexpensive determination” of this action. Fed. R. Civ. P. 1. The parties are cognizant of the

Court’s prior comments about the length of the stay in this case, but believe that settlement

discussions in this complex matter are progressing forward in good faith. Further, the parties

agree that their resources and attention are best spent focusing on settlement efforts rather than

active litigation before the Court that may not be necessary should the parties’ negotiations be

successful.

       The parties therefore respectfully request that the Court continue the stay of this case for

60 days. The parties propose to file a joint status report on February 1, 2022.



Dated: December 1, 2021                                       Respectfully submitted,


/s/ Brian Segee                                               BRIAN M. BOYNTON
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